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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:88-cr-01007-MP-AK

RICHARD KEITH WILLIAMS,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 1206, Motion for Reconsideration, filed by

Defendant Williams. In the motion, Defendant requests reconsideration of the Court’s order

denying Defendant’s motion for sentence reduction, Doc. 1194. As Defendant states,

Amendment 505 to the Sentencing Guidelines changed the offense levels in U.S.S.G. § 2D1.1(c),

the Drug Quantity Table, and U.S.S.G. § 1B 1.10 indicates that the change is retroactively

applicable. See U.S.S.G. § 1B1 .10(c), and U.S.S.G.App. C, amend. 505. Defendant was

sentenced to a statutorily mandated sentence of life imprisonment on June 28, 1991. Because the

amendments to the Drug Quantity Table had no effect on the Defendant’s sentencing range, he

therefore is not entitled to be considered for a reduction in his sentence based on 18 U.S.C.

3582(c)(2). Therefore, Defendant Williams’ motion for reconsideration is denied.

       DONE AND ORDERED this             4th day of December, 2007


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
